

People v Ross (2017 NY Slip Op 04761)





People v Ross


2017 NY Slip Op 04761


Decided on June 9, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 9, 2017

PRESENT: WHALEN, P.J., SMITH, CENTRA, LINDLEY, AND SCUDDER, JJ. (Filed June 9, 2017.) 


MOTION NO. (540/14) KA 12-01248.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vMICHAEL A. ROSS, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








